EXHIBIT A

Case 4:19-cv-00017-JWS Document 1-1 Filed 05/29/19 Page 1 of 9
STEPOVICH
Law OFFICE
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Suite A
Fairbanks, Alaska

99701
Tel: (907)-452-6600 |;

Fax:.(907) 482-5205

 

IN THE SUPERIOR COURT FOR THE STATE OF ALASKA
FOURTH JUDICIAL DISTRICT AT FAIRBANKS

Defendant.

DANA HOOVER, )
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“a State Of Altsaui F Uut Ct ist lacs
V. os
) APR 30 2019
LOWE’S COMPANIES, INC., ) 5
d/b/a Lowe’s Home Centers, LLC, ) Yoo ene ernense——DEDIItY
)
)
)

 

Case No. 4FA-19-C/ 933 Cl
COMPLAINT

Plaintiff Dana Hoover, by and through her undersigned counsel and for her

|.,.complaint against the defendant, Lowe’s Companies, Inc., d/b/a Lowe’s Home Ceniers,

LLC, (hereinafter referred to as Lowe’ Ss) hereby alleges as follows:
1. At all times relevant plaintiff Dana Hoover v was a resident of the State of
Alaska, Fourth Judicial District, at Fairbanks, Alaska. | | |
2. At all times relevant defendant Lowe’s, was an entity doing business in the
State of Alaska, Fourth Judicial District, at Fairbanks, Alaska.

3. _ Atall times relevant plaintiff Ms. Hoover was a patron of defendant Lowe’s

store located at 425 Merhar Ave, Fairbanks, Alaska.
4. The defendant Lowe’s had a duty to maintain its premises in a reasonable
safe condition.
5. On or about April 30, 2017, the main entrance to defendant Lowe’s store
was not maintained | ina reasonable safe condition. There was liquid that accumulated
near the entrance door, next to defendant's customer service desk, with 1 no adequate

warning of its presence.

Page 1 of 3
Hoover, Complaint

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6. On or about April 30, 2017, while the plaintiff Hoover was a customer at
Lowe’s Fairbanks store, she was going from the west side of the store to the east
utilizing the aisle nearest the store’s front entrance. As she proceeded by the customer
service desk she slipped, landing on the floor fracturing her left ankle.

7. As a direct and proximate consequence of defendant Lowe’s failure to
maintain their store in a safe condition, it was foreseeable that plaintiff Ms. Hoover
would slip, fall, and be injured.

8. As a proximate consequence of her fall at defendant Lowe’s premises, as
described herein, plaintiff Hoover sustained physical injuries resulting in compensatory
losses including, but not limited to, past and future medical expenses, past and future
loss of earnings, loss of earning capacity, pain and suffering, and loss of enjoyment of
life.

WHEREFORE, plaintiff Dana Hoover requests the following relief in an amount
not less than the jurisdictional level of the superior court for:

A. Past and future medical expenses;

B. Past and future loss of income and ability to earn money;

C. Past and future pain, suffering, and inconvenience;

D. Past and future loss of enjoyment of life:

E, Attorney’s fees, costs, and prejudgment interest from the date of the accident,

as well as such other relief as the court may deem just and proper under the

circumstances.

Page 2 of 3
Hoover, Complaint

Case 4:19-cv-00017-JWS Document 1-1 Filed 05/29/19 Page 3 of 9
 

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DATED at Fairbanks, Alaska this 24.) day of April, 2019.
STEPOVICH LAW OFFICE
SANDRA K. ROLFE
ABA# 1305009
|
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$43 Sceond Avenue
Fairbanks, Alaska
Tel: (907) 482-6600
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Page 3 of 3
Hoover, Complaint

 

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IN THE SUPERIOR COURT FOR THE STATE OF ALASKA
FOURTH JUDICIAL DISTRICT AT FAIRBANKS

 

DANA HOOVER, )
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Plaintiff, ) FILED itis tee
) State Of Alasksy joins sys
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| ) APR 39 209
LOWE’S COMPANIES, INC., ) By
d/b/a Lowe’s Home Centers, LLC, ) rr ecettnn nen DOU Y
)
Defendant, )
)
Case No. 4FA-19-C:/ 933 Cl
REQUEST FOR JURY TRIAL

 

Defendant Dana Hoover, by and through her undersigned attorney and pursuant

to Alaska Rule of Civil Procedure 38(b), hereby requests and demands a trial by jury on
all issues triable of right by a jury in the above-captioned matter.
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DATED at Fairbanks, Alaska, this a ivy day of April, 2019.
STEPOVICH LAW OFFICE

| SANDRA K. ROLFE 7”
| ABA #1305009

STEPOVICH
LAW OFFICE

 

Tel: (907) 452-6600
Fax: (907) 452-5205

Hoover, Request for Jury Trial

 

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IN THE SUPERIOR COURT FOR THE STATE OF ALASKA
FOURTH JUDICIAL DISTRICT AT FAIRBANKS

 

DANA HOOVER, )
| Plaintiff, ) state of ssh Fert Dawe
| v. | ), APR 30 2019
LOWE’S COMPANIES, INC., By Deepuity
d/b/a Lowe’s Home Centers, LLC, )
Defendant.
Case No. 4FA-19-C/ ¥25_ Cl
ENTRY OF APPEARANCE

 

| STEPOVICH LAW OFFICE hereby enters its appearance on behalf of the Plaintiff
Dana Hoover, and requests that all discovery, pleadings, correspondence, and motions be
served upon it at 543 Second Avenue, Suite A, Fairbanks, Alaska, 99701.

DATED at Fairbanks, Alaska this TWhay of April, 2019.

STEPOVICH LAW OFFICE

 

STEPOVICH
LAW OFFICE

 

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oy
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Case 4:19-cv-00017-JWS Document 1-1 Filed 05/29/19 Page 6 of 9
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IN THE SUPERIOR COURT FOR THE STATE OF ALASKA

FOURTH JUDICIAL DISTRICT AT FAIRBANKS
DANA HOOVER,

Plaintiff,

Vv.

LOWE'S COMPANIES, INC.,
d/b/a Lowe’s Home Centers, LLC,

Defendant.

 

Case No. 4FA-19-O! 337% Cl
To Defendant: Lowe’s Companies Inc., d/b/a Lowe’s Home Centers, LLC

Agent: Corporation Service Company

You are hereby summoned and required to file with the court an answer to the
complaint which accompanies this summons. Your answer must be filed with the court
whose address is 101 Lacey Street, Fairbanks, Alaska 99701, within 20 days’ after the
day you receive this summons. In addition, a copy of your answer must be sent to the
plaintiff's attorney, Stepovich Law Office, at 543 Second Avenue, Suite A, Fairbanks,
Alaska 99701.

If you fail to file your answer within the required time, a default judgment may be
entered against you for the relief demanded in the complaint.

A judicial assignment had been made in this case. Consult Alaska Rule of Civil
Procedure 42 for time limits and for other information about seeking a change of judge.

NOTICE OF JUDICIAL ASSIGNMENT

TO:.Piaintitfand Defendant
You OU are: heteby ‘ai en notice that this case has been assigned to Judge

 

 

 

CLERK OF THE COURT
By: CY (In
opera Glérk >
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* The state or a state officer or agency named as defendant has 40 days to file its answer. If you have
been served with this summons outside the United States, you also have 40 days to file your answer.
CIV-100 ANCH (10/05) (st.3) Civil Rules 4,5,12, 42(c), 55
SUMMONS

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Case Number: UIEA-} GAESECI

UASE DESCRIPTION ~ SUPERIOR COURT

Check the box that best describes the case, Mark one box only.

Foreign Support Order - Registration, Modification or Enforcement

Order — Modification or Enforcement

1

Both Foreign & Support — Registration, Modification
or AS 25 25
Foreign Domestic Relations Order (Not Custody or Support) —

or

Rent or

Registration of Foreign Judgment - SEE DOMESTIC RELA

CIV-125S (4/19)(cs) Page 1 of 2
CASE DESCRIPTION FORM — SUPERIOR COURT

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CASE DESCRIPTION — SUPERIOR COURT Case Number:

Check the box that best describes the case. Mark one box only. For

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Intentional Tort
Other T

Approval of Minor Settlement — Civil Petition
also be

Act
Fraud

Unfair Trade Practice and Consumer Protection

Mrit of Corpus
& Game - Abatement. & Forfeiture of

‘Action Act

Petition

to

Minor
Claims

 

Review from

CIV-1258 (4/19)(cs) Page 2 of 2
CASE DESCRIPTION FORM ~ SUPERIOR COURT

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